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 GEORGINA WAKEFIELD (282094)
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                                         UNITED STATES DISTRICT COU~€'~"
                                        CENTRAL DISTRICT OF CALIFORNIA

     UNITED STATES OF AMERICA,                                I CASE NUMBER:
                                                                                  2:22-CR-00482-GW
                                                  PLAINTIFF
                              v.

                                                                         DECLARATION RE PASSPORT AND
 JERRY NEHL BOYLAN
                                                                           OTHER TRAVEL DOCUMENTS
                                                DEFENDANT.

 I, Jerry Nehl Boylan                                                             ,declare that
                            (Defendant/Material Witness)


  Q      I have never been issued any passport or other travel document by any country. I will not apply for a passport or
         other travel document during the pendency of this case.

  ❑      I have been issued a passport or other travel document(s). I will surrender my passport and all other travel
         documents) issued to me to the U.S. Pretrial Services Agenry by the deadline imposed. I will not apply for a
         passport or other travel document during the pendency of this case.
  ❑      I am unable to locate my passports) or other travel document(s). If I locate any passport or other travel
         document issued to me,I will immediately surrender it to the U.S. Pretrial Services Agenry. I will not apply for a
         passport or other travel document during the pendency of this case.

  ❑      My passport and all other travel documents issued to me are in the possession of federal authorities. If any such
         document is returned to me during the pendency of this case, I will immediately surrender it to the U.S. Pretrial
         Services Agency. I will not apply for a passport or other travel document during the pendency of this case.


I declare under penalty of perjury that the foregoing is true and correct.

Executed this    10th          day of         November        ,2022
at Los Angeles, CA
                                   (City and State)                          ~,,

                                                                 Srgnat e vJ~endant/Material Witness


If the declarant is not an English speaker,include the following:
I,                                         am fluent in written and spoken English and
languages. I accurately translated this form from English into
to declarant                                                      on this date.

Date:
                                                                 Interpreter

CR-37(05/15)                       DECLARATION RE PASSPORT AND OTHER TRAVEL DOCUMENTS
